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              UNITED STATES DISTRICT COURT

             SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION


UNITED STATES OF AMERICA           )
                                   )
V.                                 )    Case No. CR408-315
                                   )
ANTONIO DAWON WOODLEY              )
                                   )
           Defendant               )


                REPORT AND RECOMMENDATION

      Defendant Antonio Woodley, one of thirty-five defendants in this

drug conspiracy case, moves to suppress several intercepted telephone

conversations underlying the charges against him. (Doc. 715.)

      On April 4, 2008, this district's Chief Judge entered an order

permitting the government to wiretap co-defendant Telly Petty's mobile

phone pursuant to Title III of the Omnibus Crime Control and Safe

Streets Act of 1968, 18 U.S.C. § 2510 et seq. Among numerous phone

calls to other members of the conspiracy, Petty made five calls to

Woodley that were intercepted in April 2008. Only two of those calls

underlie specific counts of the indictment, but the government intends to

introduce each of the five intercepted calls into evidence, and Woodley
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has made clear that he seeks to suppress them all.

       Woodley contends that because he was not named in the

government's Title 111 wiretap application and did not initiate the

telephone calls, he "had an expectation of privacy that was violated by
the call from Petty." (Id. at 2.)' Woodley, however, has shown no

grounds justifying suppression of the intercepted telephone calls.

       Neither the Constitution nor Title ITT requires that every

participant in an intercepted communication be named in the wiretap

application. "The Fourth Amendment requires specification of 'the

place to be searched, and the persons or things to be seized.' In the

wiretap context, those requirements are satisfied by identification of. the

telephone line to be tapped and the particular conversations to be

seized." United States v. Donovan, 429 U.S. 413, 427 n.15 (1977). Thus,

"[i]t is not a constitutional requirement that all those likely to be

overheard engaging in incriminating conversations be named" in the

wiretap application.          Id. (emphasis added); see United States v.


      1 Woodley also
                          states that "[n]one of the telephone conversations discuss [or]
mention cocaine." (Doc. 714 at 2.) The government nevertheless contends that
each of the calls relates to the charged conspiracy. Of course, the nature and import
of the calls is a matter for the jury to determine.
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Bannerman, 2005 WL 2323172 at *3.4 (D. Mass. Aug. 25, 2005).

       Title 111, however, requires that the wiretap application disclose

"the identity of the person, if known, committing the offense and whose

communications are to be intercepted." 18 U.S.C. § 2518(1)(b)
(emphasis added); Donovan, 429 U.S. at 428 ("[A] wiretap application

must name an individual if the Government haš probable cause to believe

that the individual is engaged in the criminal activity under investigation

and expects to intercept the individual's conversations over the target

telephone."). Here, Woodley has not alleged that, prior to seeking

authorization for the wiretap, the government had any reason to believe

that he was involved in the drug conspiracy or that he would likely be

speaking to Petty over the target telephone. Indeed, government

counsel affirmatively stated at the hearing that it had no knowledge of

Woodley or his role in the conspiracy prior to tapping Petty's phone.

Thus, as Woodley's identity was not "known" to the investigators at the

time they applied for the wiretap, the government had no statutory duty

(or ability) to list his name in its wiretap application. 2 United States u.

      2
          As the Supreme Court made clear in Donovan, even where the government
fails to comply with the statutory identification requirement by negiecting to inelude
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Kahn, 415 U.S. 143, 155 (1974); see United States v. Chiarizio, 388 F.

Supp. 858, 876 (D. Conn. 1975).

      Since Title 111 wiretaps are designed to be used by law enforcement

to discover the scope and contours of criminal conspiracies, interception

must be permissible regardless of who actually initiates a call. United

States v. Tortorello, 480 F.2d 764, 775 (2d Cir. 1973) ("since the identity

of all persons who may contact or be contacted by the [wiretapped]

suspect usually cannot be known, it is permissible to record pertinent

conversations" (emphasis added)). Thus, an outbound call from a

known conspirator named in the wiretap application to a person

unknown to the monitoring government agents may be intercepted,

recorded, and used at trial, so long as "probable cause has been shown as

to one . . . participant" and the conversation is "pertinent to the

investigation." Id. Indeed, even as to those persons who are known to

the investigators and listed in the wiretap application, the government

need not establish probable cause "for each person named in an

application. .. . What is required is sufficient information so that a judge


a "known" interceptee's name in its wiretap application, the statutory suppression
provision of 18 U.S.C. § 2515 is not necessarily triggered. 429 U.S. at 432-39.
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could find probable cause to believe that the telephone in question is

being used in an illegal operation." United States v. Domme, 753 F.2d

950, 954 n. 2 (11th Cir. 1985) (internal citations omitted).


      Woodley neither contests the finding of probable cause as to Telly

Petty nor points to any mistakes in the wiretap application. Nor has he

alleged that the intercepting agents failed in their duties to minimize the

privacy impact of their monitoring. He thus shows no grounds to

contest the admission of any intercepted communications from the lawful

wiretap. While Woodley did not initiate the conversations and was not

named in the Title 111 warrant, the telephone intercepts of the calls Petty

placed to Woodley did not impinge upon Woodley's constitutional rights

or violate Title ITT's requirements. Accordingly, Woodley's motion to

suppress should be DENIED.

     SO REPORTED AND RECOMMENDED this _ day of

October, 2009.


                                         UNITED stkrES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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